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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

ALABAMA STATE CONFERENCE OF THE
NAACP, et al.,

                                 Plaintiffs,

      v.                                       Civil Action No. 2:24-cv-420
STEVE MARSHALL, in his official capacity
as Alabama Attorney General, et al.,

                               Defendants.



 [PROPOSED] AMICUS BRIEF OF THE REPUBLICAN NATIONAL COMMITTEE
               AND THE ALABAMA REPUBLICAN PARTY
              IN SUPPORT OF DEFENDANTS’ OPPOSITION
               TO PRELIMINARY INJUNCTION MOTION
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                                 STATEMENT OF INTEREST
       The Republican National Committee is a national committee under 52 U.S.C. §30101. It

manages the Republican Party’s business, coordinates election strategy, and supports Republican

candidates nationwide. The Alabama Republican Party is a recognized political party that works

to promote Republican values and assist Republican candidates in federal, state, and local races.

In the upcoming November general election, Republican candidates will appear on the ballot

throughout Alabama for local, state, and federal office.

       The RNC and the ALGOP have extensive expertise in election law, election administration,

and voting rights. They’ve filed dozens of amicus briefs in election-related cases across the coun-

try. And the RNC is a party in cases in other states raising issues similar to those presented here.

See, e.g., VoteAmerica v. Raffensperger, No. 1:21-cv-1390 (N.D. Ga.); In re Ga. S.B. 202, No.

1:21-mi-55555 (N.D. Ga.).




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                                         INTRODUCTION
        Alabama’s Senate Bill 1 straightforwardly prohibits four actions that, in the judgment of

the Alabama Legislature, could result in undue influence on absentee voters’ exercise of the fran-

chise. These actions are (1) providing a payment or gift to a third party to help distribute, complete,

or deliver a voter’s absentee ballot application; (2) receiving such a payment or gift; (3) distributing

a prefilled absentee ballot application to a voter; and (4) submitting an absentee ballot application

for another person. Ala. Code §17-11-4(b)(2), (c)(2), (d).

       Plaintiffs’ challenge to SB 1 is foreclosed by precedent several times over. To begin with,

their primary First Amendment arguments have been rejected by numerous courts around the coun-

try. Prefilling and submitting absentee ballot applications is not protected expressive conduct be-

cause these activities do not express any particular message without the aid of accompanying

speech. As a matter of both precedent and logic, these activities are “a means of facilitating voting,

not a means of communicating a message.” Feldman v. Ariz. Sec’y of Stat’s Off., 840 F.3d 1057,

1084 (9th Cir. 2016), reversed on other grounds, 843 F.3d 366 (en banc). And Plaintiffs’ argu-

ments that SB 1 curtails their core political speech and freedom of association are even further

afield: The law leaves Plaintiffs free to speak any message they wish about voting and does not

penalize their association or group advocacy.

        Plaintiffs’ challenge also fails because the interests supporting SB 1 are weighty and merit

deference from this Court. Alabama has compelling interests in election security, preventing voter

confusion, and minimizing undue influence, and courts have recognized that laws like SB 1 rea-

sonably advance those interests. Plaintiffs err by contending—without citing a single election

case—that Alabama bears a high evidentiary burden to substantiate that SB 1 advances these in-

terests. See PI Mot. at 21. No “elaborate, empirical verification of the weightiness of the State’s

asserted justification” for election regulations is required, and Alabama’s law easily passes muster

under the relevant precedent. Timmons v. Twin Cities Area New Party, 520 U.S. 351, 364 (1997).



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                                          ARGUMENT

   I.      Federal courts have rejected Plaintiffs’ effort to characterize the conduct of fa-
           cilitating absentee voting as First Amendment–protected speech.
        SB 1 prohibits third parties from engaging in certain conduct related to absentee ballot

applications, such as prefilling another voter’s application, submitting their application, or paying

other people to do the same. Plaintiffs believe the law is ill-advised because it will negatively

“impact[] voters who require … assistance” in order to vote absentee. PI Mot. at 6. Alabama’s

Legislature and Governor believe the law helps prevent third parties from exercising undue influ-

ence over Alabama’s absentee voters. See, e.g., Ala. Office of the Governor, “Governor Ivey Signs

Senate Bill 1” (Mar. 20, 2024), perma.cc/6CGC-BK47.

        Plaintiffs’ effort to transform their disagreement about the wisdom of Alabama’s law into

a First Amendment question is a nonstarter. Beginning with Plaintiffs’ expressive-conduct argu-

ment, the Supreme Court has long rejected “the view that an apparently limitless variety of conduct

can be labeled ‘speech’ whenever the person engaging in the conduct intends thereby to express

an idea.” United States v. O’Brien, 391 U.S. 367, 376 (1968). Rather, the First Amendment protects

only activity that is “inherently expressive.” Rumsfeld v. F. for Acad. & Institutional Rts., Inc.

(FAIR), 547 U.S. 47, 64 (2006). Conduct is “inherently expressive” when the expressive actor

“inten[ds] to convey a particularized message” and “the likelihood [is] great that the message

would be understood by those who viewed it.” Texas v. Johnson, 491 U.S. 397, 404 (1989). To

satisfy that standard, expressive conduct must be “sufficiently imbued with elements of commu-

nication.” Id. at 406. For example: wearing coordinated black armbands to protest a war, Tinker v.

Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503 (1969); wearing military uniforms for a dramatic

presentation, Schacht v. United States, 398 U.S. 58 (1970); or publicly burning an American flag

at a presidential inauguration, Johnson, 491 U.S. at 404.




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        Prefilling another person’s absentee ballot application, submitting their application, or pay-

ing another person to do so are activities far removed from the “inherently expressive” conduct

protected by the First Amendment. Id. As an initial matter, protected expressive conduct must

involve “a particularized message” likely to “be understood by those who viewed it,” but Plaintiffs’

conduct carries no such message. Id. Plaintiffs argue that “a reasonable person would interpret

Plaintiffs’ absentee assistance activities as conveying some message” because “Plaintiffs’ absentee

assistance is intertwined with direct communication about the importance and accessibility of vot-

ing.” PI Mot. at 17. “It is possible to find some kernel of expression in almost every activity a

person undertakes.” City of Dallas v. Stanglin, 490 U.S. 19, 25 (1989). Yet “such a kernel is not

sufficient to bring the activity within the protection of the First Amendment.” Id. The question is

thus whether “the likelihood [is] great” that observers would infer “a particularized message”

from Plaintiffs’ conduct. Johnson, 491 U.S. at 404 (emphasis added). And although a “particular-

ized message” doesn’t “necessarily” mean “a specific message,” it still requires at least “a great

likelihood that the expressive conduct will be understood by those who view it.” Burns v. Town of

Palm Beach, 999 F.3d 1317, 1337 (11th Cir. 2021) (citations omitted).

        Plaintiffs do not come close to meeting this standard. Some observers could conceivably

intuit Plaintiffs’ intended pro-voting message: “that voting is important and accessible, and that

every eligible voter should exercise their right to vote regardless of senior citizen status, disability,

or incarceration.” PI Mot. at 17. But many will hear other, very different messages, such as: “We

think you are incapable of filling out simple forms,” or “You need a sophisticated organization to

guide you because absentee voting is not ‘accessible,’” or “We think you will vote for our favored

candidates so we are targeting you.” And some will infer no message at all.

        Consistent with this analysis, court after court around the country has rejected similar at-

tempts to characterize third parties’ efforts to encourage or facilitate voting as expressive conduct.




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See, e.g., VoteAmerica v. Raffensperger, 609 F. Supp. 3d 1341, 1357-58 (N.D. Ga. 2022) (“Plain-

tiffs have not shown that the act of sending ballot application packages is expressive conduct sub-

ject to First Amendment protections.”); New Ga. Proj. v. Raffensperger, 484 F. Supp. 3d 1265,

1300 (N.D. Ga. 2020) (“[C]ollecting ballots does not qualify as expressive conduct.”); Knox v.

Brnovich, 907 F.3d 1167, 1181 (9th Cir. 2018) (rejecting that “the conduct of collecting ballots

would reasonably be understood by viewers as conveying … a symbolic message of any sort”);

Voting for Am. v. Steen, 732 F.3d 382, 392 (5th Cir. 2013) (finding “nothing ‘inherently expres-

sive’ about receiving a person’s completed application and being charged with getting that appli-

cation to the proper place”); Voting for Am. v. Andrade, 488 F. App’x 890, 898 (5th Cir. 2012)

(same); Feldman, 840 F.3d at 1084 (“[A] viewer would reasonably understand ballot collection to

be a means of facilitating voting, not a means of communicating a message.”); League of Women

Voters of Fla. v. Browning, 575 F. Supp. 2d 1298, 1319 (S.D. Fla. 2008) (agreeing that “the col-

lection and handling of voter registration applications is not inherently expressive activity”);

DCCC v. Ziriax, 487 F. Supp. 3d 1207, 1234-35 (N.D. Okla. 2020) (“[C]ompleting a ballot request

for another voter, and collecting and returning ballots of another voter, do not communicate any

particular message….”); Lichtenstein v. Hargett, 489 F. Supp. 3d 742, 769 (M.D. Tenn. 2020)

(noting “receipt and delivery of completed voter registration forms is not inherently expressive

conduct” and finding “not a single case … in which the act of distributing absentee-ballot applica-

tions was treated as within the scope of the First Amendment”).

       The Eleventh Circuit recently confirmed that laws like SB 1 do not prohibit any protected

expressive conduct. In Burns v. Town of Palm Beach, the Eleventh Circuit distilled “five contextual

factors” to guide the inquiry whether observers would likely infer a message from purportedly

expressive conduct: (1) whether the conduct involves public displays; (2) whether the activity is

open to everyone; (3) whether the activity takes place in a traditional public forum; (4) whether




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the activity addressed an issue of public concern; and (5) whether the activity “has been understood

to convey a message over the millennia.” 999 F.3d 1317, 1343-45 (11th Cir. 2021). Plaintiffs

barely discuss these factors, but each indicates that their activities are not inherently expressive.

       First, Plaintiffs have no evidence of “public display[s].” Id. at 1338. Cases recognizing

inherently expressive activity invariably involve open, public displays. See Tinker, 393 U.S. at 504

(publicly displaying a black armband to school during the Vietnam War); Spence v. Washington,

418 U.S. 405, 410 (1974) (publicly displaying an American flag with a peace symbol taped over

it by hanging it upside down out of an apartment); Johnson, 491 U.S. at 404 (publicly burning an

American flag); Fort Lauderdale Food Not Bombs v. City of Fort Lauderdale, 901 F.3d 1235,

1240 (11th Cir. 2018) (publicly sharing food). But Plaintiffs target “individuals” who they say

require “assistance” to vote. PI Mot. at 7. At most, that conduct is like “sharing a meal with

friends,” and thus not inherently expressive. Burns, 999 F.3d at 1343.

       Second, Plaintiffs’ activities are not “open to everyone.” Id. The purpose of an open event

is to grab the attention of passersby. The food-sharing event in Food Not Bombs, for example, had

“social implications” that encouraged participation by those who engaged with the activity. 901

F.3d at 1242. In contrast, Plaintiffs target their activities at individuals in preferred demographics.

See PI Mot. at 6-12. And activity that is “shielded … from public view,” that is not “open to

everyone,” or that is not a general invitation to “the public” would not be understood by a reason-

able person as conveying a message. Burns, 999 F.3d at 1344.

       Third, that some of Plaintiffs’ activities might take place in a traditional public forum does

not mean SB 1 facially applies only to expressive activities. “Although the choice of location alone

is not dispositive, it is nevertheless an important factor in the ‘factual context and environment’

that [courts] must consider.” Food Not Bombs, 901 F.3d at 1242. Plaintiffs don’t develop what

proportion of their activities take place in parks or on sidewalks. See, e.g., Doc. 34-3 at 3-4. And




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some of their activities involve indisputably private forums. E.g., Doc. 3403 at 6 (“GBM also has

a hotline where people make calls to inquire about voter assistance and eligibility.”).

       Fourth, Plaintiffs address their activities to private concerns, not public ones. Plaintiffs

define their concerns at a high level: “the right to vote.” PI Mot. at 18. But the Eleventh Circuit is

more precise. In Food Not Bombs, “the record demonstrate[d] without dispute that the treatment

of the City’s homeless population [was] an issue of concern in the community.” 901 F.3d at 1242.

That evidence consisted of city meetings, public workshops, and “local discussion regarding the

City’s treatment of the homeless.” Id. at 1242-43. In contrast, building residential homes is a com-

monplace, “uncontroversial” activity that was a matter of private concern, not “public concern.”

Burns, 999 F.3d at 1344. That Plaintiffs are privately concerned about a public process does not

transform their activities into matters of public concern.

       Fifth, Plaintiffs’ voter-assistance activities have not “been understood to convey a message

over the millennia.” Id. at 1344-45. Again, courts require more specificity than Plaintiffs provide.

In Burns, the plaintiff’s extensive evidence that architecture had a history of expressive design was

insufficient. The Eleventh Circuit required the plaintiff to show that “residential architecture, spe-

cifically, has a historical association with communicative elements that would put a reasonable

observer on notice of a message.” Id. at 1345. Absent a lengthy history that “a particular symbol

or type of conduct” has been used as a “means for conveying [a] message,” this factor weighs

against finding that the activity is inherently expressive. Food Not Bombs, 901 F.3d at 1243.

       Plaintiffs argue that their “voter assistance and education events” involve public displays

open to everyone that sometimes take place in public forums. PI Mot. at 17-18. But that contention

misses the point—SB 1 does not prohibit “voter assistance and education events” or any of Plain-

tiffs’ public advocacy and education efforts. The conduct SB 1 actually prohibits—prefilling an

individual voter’s absentee ballot application, returning such an application, or paying others to do




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so—is quintessential private conduct. It is a bilateral undertaking between two individuals. That

Plaintiffs’ members may wish to perform that conduct in a public forum or during group events

does not transform the conduct into First Amendment–protected expressive activity. See, e.g.,

Burns, 999 F.3d at 1343-44 (evaluating expressiveness of the specific conduct prohibited by stat-

ute); Food Not Bombs, 901 F.3d at 1241 (same). After all, “[i]f combining speech and conduct

were enough to create expressive conduct, a regulated party could always transform conduct into

‘speech’ simply by talking about it.” FAIR, 547 U.S. at 66.

       Perhaps recognizing that their expressive-conduct claim is foreclosed by a wall of prece-

dent, Plaintiffs shoot for the moon and attempt to characterize prefilling and returning absentee

ballot applications as “core political speech.” PI Mot. 15-16. This theory is as illogical as it is

unprecedented. Plaintiffs argue that the voter-assistance activities prohibited by SB 1 are core po-

litical speech because “[i]t would be impossible for Plaintiffs to assist voters with their applications

without disclosing and disseminating information,” and disseminating information about voting

can be protected political speech. Id. at 16. But Plaintiffs do not argue that it would be impossible

for them for speak about voting without violating SB 1 (a contention that would be plainly wrong

given the narrowness of the law’s specific prohibitions). Instead, they argue that it would be im-

possible for them to violate SB 1 (i.e., “assist voters with their applications”) without speaking

about voting. This is exactly backwards: The fact that prohibited conduct may be accompanied by

political speech does not make the underlying prohibition on conduct unconstitutional. E.g.,

Rumsfeld, 547 U.S. at 66. Complying with SB 1’s narrow prohibitions on conduct leaves Plaintiffs

free to “[e]ncourage others to vote or engage in the political process.” VoteAmerica v. Raffensper-

ger, No. 1:21-cv-1390, 2023 WL 6296928, at *9 (N.D. Ga. Sept. 27, 2023).

       Finally, Plaintiffs’ cursory argument that SB 1 violates their associational rights, see PI

Mot. at 18-19, is even further afield. SB 1 comes nowhere close to regulating Plaintiffs’ “group[]




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membership decisions,” “requir[ing] disclosure of membership lists,” “impos[ing] penalties or

withhold[ing] benefits based on membership in a disfavored group,” or otherwise penalizing Plain-

tiffs’ members for associating together or engaging in group advocacy. Rumsfeld, 547 U.S. at 69.

Plaintiffs cannot succeed by relabeling their freedom-of-speech arguments as freedom-of-associ-

ation arguments; they must show that Alabama has somehow targeted the fact of their association

itself. Plaintiffs do not even attempt to make such a showing.

    II.      Federalism requires respect for the State’s interests in regulating elections.
          The power to regulate elections is left first to the States, then to Congress. The Constitution

provides that the “Times, Places and Manner of holding Elections for Senators and Representa-

tives, shall be prescribed in each State by the Legislature thereof; but the Congress may at any

time by Law make or alter such Regulations, except as to the Places of chusing Senators.” U.S.

Const. art. I, §4. Likewise, “[e]ach State shall appoint, in such Manner as the Legislature thereof

may direct, a Number of Electors” to choose the President of the United States. U.S. Const. art. II,

§1. Regulation of state elections, of course, is left entirely to the States. U.S. Const. amend. X.

          Given this constitutional structure, federal courts should be especially careful when it

comes to weighing States’ interests in elections. “[T]he States ‘have long been held to have broad

powers to determine the conditions under which the right of suffrage may be exercised.’” Evans

v. Cornman, 398 U.S. 419, 422 (1970); see also Eu v. S.F. Cnty. Democratic Central Comm., 489

U.S. 214, 231 (1989) (“A State indisputably has a compelling interest in preserving the integrity

of its election process.”).

          Here, Alabama’s elected representatives passed SB 1 to improve election security, mini-

mize voter confusion and deception, and lessen undue influence from third parties on absentee

voters, among other goals. E.g., Ala. Office of the Governor, supra. These are “weighty reasons

that warrant judicial respect.” Democratic Nat’l Comm. v. Wis. State Legislature, 141 S. Ct. 28,




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34 (2020) (Kavanaugh, J., concurral); see, e.g., League of Women Voters of Fla. Inc. v. Fla. Sec’y

of State, 81 F.4th 1328, 1332 (11th Cir. 2023) (en banc) (per curiam) (recognizing “election secu-

rity” as legitimate interest supporting election regulation); Timmons, 520 U.S. at 364 (recognizing

States’ “‘compelling’ interests in avoiding voter confusion”); Citizens for Police Accountability

Political Comm. v. Browning, 572 F.3d 1213, 1219 (11th Cir. 2009) (recognizing State’s “com-

pelling interests” in “protecting voters from … undue influence”).

       SB 1 reasonably advances Alabama’s interests in election security and minimizing voter

confusion and undue influence. As multiple courts have found, the prohibition on “[p]refilling”

absentee ballot applications is a “reasonable and nondiscriminatory method[] of achieving the

state’s goals” in “avoiding voter confusion and administering effective elections.” VoteAmerica,

609 F. Supp. 3d at 1363; see also Lichtenstein v. Hargett, 489 F. Supp. 3d 742, 783 (M.D. Tenn.

2020) (accepting State’s argument that it “helps prevent voter fraud and confusion and preserves

the integrity of the ballot box” to ensure “that the application is not pre-filled in any way by non-

election officials”); League of United Latin Am. Citizens of Iowa v. Pate, 950 N.W.2d 204, 210

(Iowa 2020) (affirming “the concept that the voter should fill out the absentee ballot application

correctly as a means of assuring the application comes from the voter”). The requirement that the

voter return the application and the prohibition on third-party payments are similarly tailored to

“assuring the application comes from the voter” without undue influence. Pate, 950 N.W.2d at

210; see also VoteAmerica, 609 F. Supp. 3d at 1363 (finding law “especially” reasonable where,

as here, the State “elected not to impose an outright ban on third-parties’ distribution of absentee

ballot applications and instead chose to regulate only the specific parts of the process that are

problematic”).

       Plaintiffs argue that SB 1 must be enjoined because Alabama has not satisfied its “burden

of proving, through evidence” that the law sufficiently advances these goals. PI Mot. at 21.




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Plaintiffs cite only one case for the proposition that Alabama bears such a burden. See id. (citing

Turner Broadcasting Sys., Inc. v. FCC, 512 U.S. 622, 664 (1994)). But that case is about federal

cable broadcast regulation, which has nothing to do with state election laws. Plaintiffs rely on

inapplicable cases because election-law precedent uniformly undercuts their position that the State

must carry a substantial evidentiary burden to sustain its election regulations.

       “It is well established that, in the election context, there is no need for an ‘elaborate, em-

pirical verification of the weightiness of the State’s asserted justifications.’” Fla. State Conf. of

NAACP v. Browning, 569 F. Supp. 2d 1237, 1251 (N.D. Fla. 2008) (quoting Timmons, 520 U.S.

at 364). That is because “Legislatures should be permitted to respond to potential deficiencies in

the electoral process with foresight rather than reactively, provided that the response is reasonable

and does not significantly impinge on constitutionally protected rights.” Timmons, 520 U.S. at 364

(cleaned up). “To require States to prove actual voter confusion … would invariably lead to endless

court battles over the sufficiency of the ‘evidence’ marshaled by a State to prove the predicate,”

and the same is true for states’ concerns about election security and undue influence. Munro v.

Socialist Workers Party, 479 U.S. 189, 195 (1986). Thus, for example, in Crawford v. Marion

County Election Board, the Supreme Court upheld a voter identification law even though the rec-

ord contained “no evidence of any [in-person] fraud actually occurring in Indiana at any time in

its history.” 553 U.S. 181, 194 (2008). The Court should reject Plaintiffs’ effort to demand more

evidence than the law requires to support Alabama’s reasonable election regulations.

                                         CONCLUSION
       The Court should deny the motion for preliminary injunction.




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Respectfully submitted this the 7th day of June 2024.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of June 2024, I electronically filed the foregoing us-

ing the ECF System, which will send notification to everyone requiring service.


                                                      /s/ Thomas L. Oliver III
                                                      OF COUNSEL




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